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STATE OF MICHIGAN
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- GEQRGE s. BuTH , ,' wm JUD'C'AL C'RCWT HALL os= Jusrics
CIRCUIT JUDGE @

GRAND RAF!DS. M|CHIGAN 49503

IN RE: 17TH CIRCUIT COURT FAMILY DIVISION’S ADMINISTRATIVE
CASE ASSIGNMENT POLICY AND PROCEDURE DIRECTIVE
DATED FEBRUARY 28, 2001

On May l, 2000, the Circuit Court moved into its final stage of the Family Division Plan.
This move triggered a more proportionate assignment of case types to all the Judges
assigned in the Family Division. The exception being that the Circuit Judge rotating into
the Family Division was not assigned child protective or randomly assigned divorces,
involving minor children, case types. From May lst until now, it has become apparent
that the amount of time and effort in determining the existence of any prior judicial
contact with the family members has evolved into a complex and time-consuming
endeavor. This process at times results in staff uncertainty with the judicial assignment
due to the many possible and, at times, conflicting case scenarios. After careful study by
the Court’s Administrative staff, their recommendations as put forth in this
Administrative Directive details a new Judicial Case Assignrnent Policy and Procedure to
be followed by the Family Division of the 17th Circuit Court. The continuation of this
directive is subject to acceptance of a Local Arlministrative Order being submitted to the
Michigan Suprerne Court.

The emphasis of this new Judicial Case Assignrnent Policy and Procedure is to assign to
the three Probate Judges and the Circuit Judge, permanently assigned to the Family
Division, caseloads that involve both frequent and prolonged judicial contact with the
family. Such cases foster the spirit of the “one family/one judge” rule and are
characteristic of divorces involving minor children, adoptions and child protective cases.
All other domestic relations case types are assigned to the Circuit Judge rotating'into the
Family Division. Such cases are characteristic of paternity, support and other domestic
matters that do not have as much judicial contact with the families as does the former.
Support, paternity and other domestic matters usually result in defaults or consent entries
of judgment and are many times heard by the Circuit Court Referees.

Therefore, it is directed that the Kent County Clerk’s Office/Courts Division use the

following table to determine Judicial Case Assignment Within the Farnily Division of
Circuit Court.

TELEPHONE: (6`16) 336-3288 * FAX: (616) 336-2932

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February 28, 2001
Judicial Directive

 

17TH CIRCUIT COURT FAMILY DIVISION

 

 

 

 

 

 

 

JUDICIAL CASE ASSIGNMENT
POLICY AND PROCEDURE
FEBRUARY, 2001
Judges Judge
Carpenter, Feeney, Gardner & Hillary Sullivan

Case Type Filing Action Taken Case Type Filing Action Taken
New DM Check for prior DM, NA, New DO Assigned all new DO

DL or current PP or PJ' cases

actions and

assign to one of the above All DO motions All DO motions

Judges or, if none, including post-judgment

randomly assign to one of motions will be heard by

the above Judge Sullivan
New PPO Check for prior DM, NA, New PPO Judge Sullivan will not

DL or current PP or PJ be assigned any PPO(s)

actions and assign to one nor will he hear PPO

of the above Judges or, if motions

none, randomly assign to `

one of the above
New Delinquency Check for prior DM, NA, New Delinquency Checl< for prior DM, NA,

DL or current PP or P.l DL or current PP or PJ'

actions and assign to one actions and assign to one

of the above Judges or, if of the above Judges or, if

none, randomly assign to none, randomly assign to

Judges Carpenter, Judges Carpenter,

Feeney, Gardner, Hillary Feeney, Gardner, Hillary

or Sullivan or Sullivan
New Child Check for prior DM, NA, New Child Judge Sullivan Will not
Protective DL Or current PP or PJ Protective be assigned any Child

actions and assign to one Protective cases

of the above Judges or, if

none, randomly assign to

one of the above

 

 

 

All PPO(s) will be assigned only to Judges
Carpenter, Feeney, Gardner or Hillary

 

All domestic relations cases (except for case
types DM, NA, DL, PP, PH, PJ') Will be_
assigned to Judge Sullivan, and Judge
Sullivan will hear all motions for domestic
relations cases (except case types for

DM, NA, DL, PP, PH, PD

 

 

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Any prior judicial involvement by
Judge Steketee results in a random Judge
assignment

 

Any prior judicial involvement by
Judge Buth results in a random Judge

assignment

 

 

 

 

Furthermore, the Court directs the Kent County Clerl<'s Office/Courts Division to
perform the following reassignment of cases:

- all pending domestic relations case types except divorces involving
minor children to Judge Paul J. Sullivan -

- all pending divorces involving minor children previously assigned to
Judge Buth be randomly reassigned to Judges Carpenter, Feeney,
Gardner and Hillary

- all pending divorces involving minor children currently assigned to
Judge Sullivan be randomly reassigned to Judges Carpenter, Feeney,
Gardner and Hillary

Dare: February 28, 2001 W

G€orge s. Buth, chief circuit Judge

